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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Jose Cruz
                                  Plaintiff,
v.                                                     Case No.: 1:23−cv−04268
                                                       Honorable Jeremy C. Daniel
Reynaldo Guevara, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 17, 2024:


        MINUTE entry before the Honorable Gabriel A. Fuentes: The undecided
remainder of the Officer Defendants' motion to compel the CCSAO (doc. #[135]) is
partially granted and partially denied as follows: (1) the motion is granted as to the ASA
Notes and the ASA Trial Preparation Materials, which are to be produced no later than
May 31, 2024; (2) the motion is denied as to the CIU Memo; and (3) the motion is denied
as to the juvenile records, all for the reasons stated in the accompanying order. Enter
Order. Mailed notice. (lxk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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